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                                  U.S. District Court
                       District of Columbia (Washington, DC)
                CRIMINAL DOCKET FOR CASE #: 1:21-cr-00046-RDM-1


Case title: USA v. MONTGOMERY, et al.                      Date Filed: 01/21/2021
Magistrate judge case number: 1:21-mj-00044-RMM

Assigned to: Judge Randolph D. Moss

Defendant (1)
PATRICK MONTGOMERY                           represented by Danielle Courtney Jahn
                                                            FEDERAL PUBLIC DEFENDER
                                                            FOR THE DISTRICT OF
                                                            COLUMBIA
                                                            625 Indiana Ave, NW
                                                            Suite 500
                                                            Washington, DC 20004
                                                            (202) 208-7500
                                                            Fax: (202) 501-3829
                                                            Email: dani_jahn@fd.org
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender or
                                                            Community Defender Appointment

Pending Counts                                              Disposition
18:1752(a)(1); TEMPORARY
RESIDENCE OF THE PRESIDENT;
Entering and Remaining in a Restricted
Building
(1)
18 U.S.C. 111(a)(1);
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers
(1s)
18:1752(a)(2); TEMPORARY
RESIDENCE OF THE PRESIDENT;
Disorderly and Disruptive Conduct in a
Restricted Building



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(2)
18 U.S.C. 231(a)(3); CIVIL DISORDER;
Civil Disorder
(2s)
40:5104(e)(2)(B); FEDERAL
STATUTES, OTHER; Entering and
Remaining in the Gallery of Either House
of Congress
(3)
18 U.S.C. 1752(a)(4); TEMPORARY
RESIDENCE OF THE PRESIDENT;
Engaging in Physical Violence in a
Restricted Building or Grounds
(3s)
40:5104(e)(2)(D); FEDERAL
STATUTES, OTHER; Violent Entry and
Disorderly Conduct at the Grounds and in
a Capitol Building
(4)
40 U.S.C. 5104(e)(2)(F); VIOLENT
ENTRY AND DISORDERLY
CONDUCT ON CAPITOL GROUNDS;
Act of Physical Violence in a Capitol
Grounds or Buildings
(4s)
40:5104(e)(2)(G); FEDERAL
STATUTES, OTHER; Parading,
Demonstrating, or Picketing in a Capitol
Building
(5)
18 U.S.C. 1752(a)(1); TEMPORARY
RESIDENCE OF THE PRESIDENT;
Entering and Remaining in a Restricted
Building or Grounds
(5s)
18 U.S.C. 1752(a)(2); TEMPORARY
RESIDENCE OF THE PRESIDENT;
Disorderly and Disruptive Conduct in a
Restricted Building or Grounds
(6s)

40 U.S.C. 5104(e)(2)(D); VIOLENT
ENTRY AND DISORDERLY
CONDUCT ON CAPITOL GROUNDS;
Violent Entry and Disorderly Conduct in
a Capitol Building



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(7s)
40 U.S.C. 5104(e)(2)(G); VIOLENT
ENTRY AND DISORDERLY
CONDUCT ON CAPITOL GROUNDS;
Parading, Demonstrating, or Picketing in
a Capitol Building
(8s)
40 U.S.C. 5104(e)(2)(B); VIOLENT
ENTRY AND DISORDERLY
CONDUCT ON CAPITOL GROUNDS;
Entering and Remaining in the Gallery of
Congress
(9s)
18 U.S.C. 1512(c)(2) and 2;
TAMPERING WITH A WITNESS,
VICTIM OR INFORMANT; Obstruction
of an Official Proceeding and Aiding and
Abetting
(10s)

Highest Offense Level (Opening)
Felony

Terminated Counts                                         Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                Disposition
COMPLAINT in Violation of 18:1752(a)
(1) and 40:5104(e)(2)(G)



Plaintiff
USA                                        represented by Elizabeth C. Kelley
                                                          U.S. ATTORNEY'S OFFICE
                                                          555 4th Street, N.W.
                                                          Washington, DC 20350
                                                          202-252-7238
                                                          Email: elizabeth.kelley@usdoj.gov
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED




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                                                             Designation: Assistant U.S. Attorney


 Date Filed     #   Docket Text
 01/13/2021      1 COMPLAINT as to PATRICK MONTGOMERY (1). (Attachments: # 1
                   Statement of Facts) (zstd) [1:21-mj-00044-RMM] (Entered: 01/13/2021)
 01/17/2021         Case unsealed as to PATRICK MONTGOMERY (bb) [1:21-mj-00044-RMM]
                    (Entered: 01/19/2021)
 01/17/2021         Arrest of Defendant PATRICK MONTGOMERY in the District of Colorado.
                    (kk) (Entered: 02/17/2021)
 01/17/2021         ENTERED IN ERROR AS A DUPLICATE.....Arrest of PATRICK
                    MONTGOMERY in US District Court for the District of Colorado. (bb)
                    Modified on 4/1/2021 (znmw). (Entered: 03/30/2021)
 01/21/2021      3 INFORMATION as to PATRICK MONTGOMERY (1) count(s) 1, 2, 3, 4, 5.
                   (zstd) (Main Document 3 replaced on 1/22/2021) (zstd). [1:21-mj-00044-
                   RMM] (Entered: 01/22/2021)
 01/29/2021         MINUTE ORDER as to Defendant PATRICK MONTGOMERY : It is hereby
                    ORDERED that Defendant PATRICK MONTGOMERY appear for an initial
                    appearance on Friday, February 5, 2021 at 1:00 p.m. before Magistrate Judge
                    Robin M. Meriweather. The hearing will be conducted by video teleconference;
                    call-in instructions will be provided to counsel prior to the hearing. Counsel for
                    the United States is directed to ensure that counsel for Defendant has received
                    this Order and will provide the information to Defendant. If Defendant does not
                    have counsel, counsel for the United States is directed to contact the Office of
                    the Federal Public Defender for the District of Columbia and provide their
                    office with the information contained in this Order. If the parties have questions
                    about this Order or the scheduled hearing, please contact the Courtroom Deputy
                    at 202-354-3083; So Ordered by Magistrate Judge Robin M. Meriweather on
                    1/29/2021. (kk) (Entered: 01/31/2021)
 02/02/2021    11 Rule 5(c)(3) Documents Received as to PATRICK MONTGOMERY from US
                  District Court for the District of Colorado Case Number 1:21-mj-11- STV (bb)
                  (Entered: 03/30/2021)
 02/04/2021      5 NOTICE OF ATTORNEY APPEARANCE Elizabeth C. Kelley appearing for
                   USA. (Kelley, Elizabeth) (Entered: 02/04/2021)
 02/05/2021    14 Arrest Warrant, dated 1/13/2021, returned executed in the U.S. District Court
                  for the District of Columbia on 2/5/2021 as to Defendant PATRICK
                  MONTGOMERY. (kk) (zkk). (Entered: 02/17/2021)
 02/05/2021         ORAL MOTION by Defendant PATRICK MONTGOMERY to Appoint
                    Counsel. (kk) (Entered: 02/17/2021)
 02/05/2021         JOINT ORAL MOTION by Defendant PATRICK MONTGOMERY and USA
                    to Exclude Time Under the Speedy Trial Act from 2/5/2021 to 2/18/2021. (kk)
                    (Entered: 02/17/2021)



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 02/05/2021         Minute Entry for Initial Appearance and Arraignment as to PATRICK
                    MONTGOMERY held by video before Magistrate Judge Robin M.
                    Meriweather on 2/5/2021 : The defendant agrees to appear by video for today's
                    hearing. Oral Motion by Defendant to Appoint Counsel, heard and granted.
                    Assistant Federal Public Defender Danielle Courtney Jahn appointed to
                    represent PATRICK MONTGOMERY. Plea of Not Guilty entered by
                    PATRICK MONTGOMERY to Counts 1, 2, 3, 4 and 5. Status Hearing set
                    before Judge Randolph D. Moss on 2/18/2021 at 11:30 AM by
                    Telephonic/VTC. Joint Oral Motion by Defendant and USA to Exclude the
                    Time Under the Speedy Trial Act from 2/5/2021 to 2/18/2021, heard and
                    granted in the interest of justice. Bond Status of Defendant: Defendant placed
                    on Personal Recognizance Bond. Court Reporter: FTR Gold - Ctrm. 24A; FTR
                    Time Frames: 1:32:41 - 1:43:33 and 2:25:59 - 2:41:59. Defense Attorney: Dani
                    Jahn; U.S. Attorney: Kelly Smith for Elizabeth Kelley; Pretrial Officer: John
                    Copes. (kk) (Entered: 02/17/2021)
 02/10/2021      7 NOTICE OF ATTORNEY APPEARANCE: Danielle Courtney Jahn appearing
                   for PATRICK MONTGOMERY (Jahn, Danielle) (Entered: 02/10/2021)
 02/10/2021      8 ORDER Setting Conditions of Release as to PATRICK MONTGOMERY (1)
                   Personal Recognizance. Signed by Magistrate Judge Robin M. Meriweather on
                   2/10/2021. (ztl) (Additional attachment(s) added on 4/20/2021: # 1 Appearance
                   Bond) (zkk). (Entered: 02/11/2021)
 02/18/2021         Minute Entry for proceedings held before Judge Randolph D. Moss: Video
                    (CMS) Status Conference as to PATRICK MONTGOMERY held on
                    2/18/2021. Defendant consents to proceeding by video. Due Process Protections
                    Act Order read into the record by the Court. A further Status Conference is set
                    for 4/21/2021, at 10:00 AM, by video, before Judge Randolph D. Moss. The
                    parties shall participate by using the same video connection instructions. For
                    the reasons discussed on the record, the Defendant's passport shall be returned
                    to him. Speedy Trial (XT) is tolled in the interest of justice from 2/18/2021 to
                    4/21/2021. Bond Status of Defendant: Defendant remains on a PR Bond; Court
                    Reporter: Jeff Hook; Defense Attorney: Danielle C. Jahn; U.S. Attorney:
                    Elizabeth C. Kelley. (kt) Modified on 3/23/2021 to include speedy trial
                    language (kt). (Entered: 02/18/2021)
 02/18/2021         MINUTE ORDER as to PATRICK MONTGOMERY: Pursuant to the Due
                    Process Protections Act, it is hereby ORDERED that all government counsel
                    shall review their disclosure obligations under Brady v. Maryland, 373 U.S. 83
                    (1963), and its progeny, as set forth in Local Criminal Rule 5.1, and comply
                    with those provisions. The failure to comply could result in dismissal of the
                    indictment or information, dismissal of individual charges, exclusion of
                    government evidence or witnesses, continuances, Bar discipline, or any other
                    remedy that is just under the circumstances. Signed by Judge Randolph D.
                    Moss on 2/18/2021. (lcrdm2) (Entered: 02/18/2021)
 04/05/2021    12 Unopposed MOTION for Protective Order by USA as to PATRICK
                  MONTGOMERY. (Attachments: # 1 Text of Proposed Order)(Kelley,
                  Elizabeth) (Entered: 04/05/2021)




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 04/05/2021    13 PROTECTIVE ORDER as to PATRICK MONTGOMERY: Upon
                  consideration of the government's motion for Protective Order, Dkt. 12 it is
                  hereby ORDERED that the motion is GRANTED; The parties shall comply
                  with the directives set forth in the attached Protective Order, which the Court
                  adopts in full. See document for details. Signed by Judge Randolph D. Moss on
                  4/5/2021. (lcrdm2) Modified on 4/6/2021 to reference motion (kt). (Entered:
                  04/05/2021)
 04/16/2021    23 SUPERSEDING INDICTMENT as to PATRICK MONTGOMERY (1) count
                  (s) 1s, 2s, 3s, 4s, 5s, 6s, 7s, 8s, 9s, 10s, BRADY KNOWLTON (2) count(s) 5,
                  6, 7, 8, 9, 10. (zltp) (Entered: 04/19/2021)
 04/20/2021         NOTICE OF HEARING as to PATRICK MONTGOMERY (1) and BRADY
                    KNOWLTON (2): Arraignment/Status Conference set for 4/21/2021, at 10:00
                    AM, by video, before Judge Randolph D. Moss. (kt) (Entered: 04/20/2021)
 04/20/2021    27 MOTION for Disclosure of 6(e) and Sealed Materials by USA as to PATRICK
                  MONTGOMERY, BRADY KNOWLTON. (Kelley, Elizabeth) (Entered:
                  04/20/2021)
 04/20/2021    28 MOTION to Continue and Exclude Time Under the Speedy Trial Act by USA
                  as to PATRICK MONTGOMERY, BRADY KNOWLTON. (Attachments: # 1
                  Text of Proposed Order)(Kelley, Elizabeth) (Entered: 04/20/2021)
 04/21/2021    29 ORDER as to PATRICK MONTGOMERY (1), BRADY KNOWLTON (2):
                  Upon consideration of the United States' motion to disclose items protected by
                  Federal Rule of Criminal Procedure 6(e) and sealed materials, Dkt. 27 , it is
                  hereby ORDERED, that the motion is GRANTED, and it is further ORDERED,
                  that the United States may provide in discovery materials protected by Federal
                  Rule of Criminal Procedure 6(e), and it is further ORDERED, that the United
                  States may provide in discovery sealed materials, pursuant to the previously
                  entered protective order governing discovery, and it is further ORDERED, that
                  this Order also applies to the disclosure of the materials described above to any
                  co-defendants who may later be joined. Signed by Judge Randolph D. Moss on
                  4/21/2021. (lcrdm2) (Entered: 04/21/2021)
 04/21/2021         Minute Entry for proceedings held before Judge Randolph D. Moss: Video
                    (Zoom) Arraignment/Status Conference as to PATRICK MONTGOMERY (1)
                    and BRADY KNOWLTON (2) held on 4/21/2021. Defendants consented to
                    proceeding by video. PATRICK MONTGOMERY (1) arraigned on Counts 1s,
                    2s, 3s, 4s, 5s, 6s, 7s, 8s, 9s, and 10s of the Superseding Indictment. BRADY
                    KNOWLTON (2) arraigned on Counts 5, 6, 7, 8, 9, and 10 of the Superseding
                    Indictment. Plea of Not Guilty entered by PATRICK MONTGOMERY (1) and
                    BRADY KNOWLTON (2) as to ALL their respective Counts. Due Process
                    Protections Act Order read into the record by the Court. A further Status
                    Conference is set for 7/28/2021, at 10:00 AM by video, before Judge Randolph
                    D. Moss. The parties shall utilize the same zoom link provided this morning.
                    For the reasons stated on the record, the Government and Defendant Knowlton
                    shall file a Joint Status Report by 5/21/2021. The Court GRANTS Defendant
                    Knowlton's Second 25 Motion to Withdraw as Attorney; David Finn withdrawn




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                    from case. The Court finds as MOOT Defendant Knowlton's 12 Motion for
                    Exculpatory Evidence Be Produced And Presented To The Grand Jury. The
                    Court GRANTS the Government's 28 Motion to Continue and Exclude Time
                    Under the Speedy Trial Act as to PATRICK MONTGOMERY (1) and BRADY
                    KNOWLTON (2). Speedy Trial (XT) is tolled in the interest of justice from
                    4/21/2021 to 7/28/2021 as to BOTH Defendants. Bond Status of Defendants:
                    Defendants remain on PR Bonds; Court Reporter: Jeff Hook; Defense
                    Attorneys: Dani Jahn (1), Thomas B. Mayr (2), and Camille Wagner (2); U.S.
                    Attorney: Elizabeth Kelley. (kt) (Entered: 04/21/2021)




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